                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION




                                                       CIVIL ACTION
 FEDERAL TRADE COMMISSION, et ano.,
                                                       NO. 4:18-CV-0128-BCW
                             Plaintiffs,

 – v. –


 NEXT-GEN, INC., et al.,

                            Defendants.




            PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER WITH
          ASSET FREEZE, APPOINTMENT OF RECEIVER, LIMITED EXPEDITED
           DISCOVERY, AND ORDER TO SHOW CAUSE WHY A PRELIMINARY
                         INJUNCTION SHOULD NOT ISSUE

          Plaintiffs Federal Trade Commission (“FTC”) and the State of Missouri having filed their

Complaint for Permanent Injunction and Other Equitable Relief pursuant to Section 13(b) of the

Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 53(b), and Sections 407.020, et seq., of

the Missouri Merchandising Practices Act, move this Court for a temporary restraining order

against Defendants Next-Gen, Inc.; Westport Enterprises, Inc.; Opportunities Unlimited

Publications, Inc.; Opportunities Management Co.; Summit Management Team, LLC; Contest

America Publishers, Inc.; Reveal Publications, LLC; AOSR Corporation, formerly known as

Subscription Reporter Corporation, formerly known as Sweepstakes Reporter Co., Inc.;

Lighthouse FLA Enterprises, LLC; Gamer Designs, LLC; Kevin R. Brandes; and William J.

Graham (“Defendants”) in the form of the proposed order annexed hereto as Attachment 1. This

Court is authorized to grant the requested relief by Section 13(b) of the FTC Act, 15 U.S.C.



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§ 53(b); Section 407.100 of the Missouri Merchandising Practices Act; Federal Rule of Civil

Procedure 65; and the All Writs Act, 28 U.S.C. § 1651.

       In support of this motion, Plaintiffs respectfully refer the Court to their “Suggestions in

Support of Plaintiffs’ Motion for a Temporary Restraining Order” and exhibits filed in support

therewith. As set forth in the Suggestions, Defendants have engaged in deceptive acts and

practices in connection with the distribution of sweepstakes and other prize mailers, in violation

of Section 5 of the FTC, 15 U.S.C. § 45, and Section 407.020 of the Missouri Merchandising

Practices Act. For reasons explained in the Suggestions, the FTC and State of Missouri are

likely to succeed on the merits of each count of their Complaint and the balance of the equities

weighs in favor of granting the relief sought.

       WHEREFORE, Plaintiffs FTC and State of Missouri respectfully request that the Court

issue a temporary restraining order against Defendants in the form of the proposed order annexed

hereto as Attachment 1.


Respectfully submitted this 20th day of February, 2018,


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